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 6   Attorneys for Defendants
     Mayur Deepak Patil, Furor Media LLC,
 7   Crunch Media, LLC, & Travly, Inc.
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 9
                          UNITED STATES DISTRICT COURT
10
                         CENTRAL DISTRICT OF CALIFORNIA
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13   10PM CURFEW, LLC, a California     ) Case No. 23-cv-02805-MEMF-MRW
     Limited Liability Company,         )
14                                      )
                                        ) Assigned to the Hon. Maame Ewusi-
15                    Plaintiff,        ) Mensah Frimpong
                                        )
16                                      ) DEFENDANTS’ NOTICE OF MOTION
            v.                          )
17                                      ) AND MOTION TO STAY, OR IN THE
     MAYUR DEEPAK PATIL; FUROR          ) ALTERNATIVE TRANSFER, OR IN THE
18                                      ) ALTERNATIVE DISMISS COMPLAINT
     MEDIA, LLC, a Tennessee Limited    )
19   Liability Company; CRUNCH MEDIA, ) Hearing
     LLC, a Tennessee Limited Liability )
20                                      ) Date: August 24, 2023
     Company; TRAVLY, INC, a Bahamas ) Time: 10:00 a.m.
21   Corporation                        ) Place: Courtroom 8B (*Request for
                                        )
22                                      )        Zoom hearing anticipated to be
                      Defendants.       )        filed by moving party)
23                                      )
                                        )
24                                      ) Complaint Filed: April 14, 2023
                                        ) Trial Date:        None Set
25                                      )
                                        )
26                                      )

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                  NOTICE OF MOTION TO STAY, TRANSFER, OR DISMISS
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 1   TO THE COURT AND TO ALL PARTIES AND COUNSEL OF RECORD:
 2         PLEASE TAKE NOTICE that, on August 24, 2023, or as soon thereafter as the
 3   parties may be heard in the courtroom of the Honorable Maame Ewusi-Mensah
 4   Frimpong, United States District Court Judge, located at the United States Courthouse,
 5   350 West First Street, Courtroom 8B, Los Angeles, California 90012, Defendants
 6   Mayur Deepak Patil (“Patil”), Furor Media, LLC (“Furor”), Crunch Media, LLC
 7   (“Crunch”), and Travly, Inc. (“Travly”) (collectively, “Defendants”), will and hereby
 8   move to stay this case pending the determination of an earlier-filed action concerning
 9   the same subject matter entitled Mayor Deepak Patil and Furormedia, LLC v. 10pm
10   Curfew LLC, Northern District of Indiana, Case No. 4:23-cv-00016, (the “Indiana
11   Action”), or, in the alternative, transfer this action to the Northern District of Indiana
12   pursuant to 28 U.S.C. § 1406(a) so that it may be heard concurrently with the Indiana
13   Action, or, in the alternative, dismiss the Complaint pursuant to Rule 12(b)(6) of the
14   Federal Rules of Civil Procedure on the ground that the Complaint fails to state a claim
15   against Defendants upon which relief can be granted (the “Motion”).
16         This Motion is made following the conference of counsel pursuant to L.R. 7-3,
17   which took place on June 22, 2023, and which was preceded and followed by extensive
18   written meet and confer communications between counsel.
19         The Motion is based on this Notice of Motion and Motion, Defendants’
20   accompanying Memorandum of Points and Authorities in Support of the Motion,
21   Declaration of Cory A. Baskin filed in support hereof, Defendants’ Request for Judicial
22   Notice submitted concurrently herewith, such other and further matters of which this
23   Court must or may take judicial notice, all pleadings and papers on file in this action, ,
24   and such oral and documentary evidence and arguments as may be considered by the
25   Court at the hearing on this matter
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 1   Dated: July 5, 2023                    Respectfully submitted,
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                                                witkow | baskin
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 4                                           By: /s/Cory A. Baskin
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                                                   Cory A. Baskin
                                            Attorneys for Defendants
 6                                          Mayur Deepak Patil, Furor Media LLC,
 7
                                            Crunch Media, LLC, & Travly, Inc.

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